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IN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT 0F TENNESSEE 95 AUG 3| PH 5= 3|
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cARoLYN CovINGTON, ) ' ~‘ ~ ~lS
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Piainciff )
)
) No. 98-2969 (DA)
v. )
)
Mcl TELECOMMUNICATIONS )
conPoRATloN, )
)
Defendant )

 

ORDER GRANTING PLAINTIFF’S MOTION FOR DECLARATORY
RELIEF AND TO ATTACH BOND AND DENYING DEFENDANT’S
CROSS-MOTION TO DISMISS AND TO RELEASE SUPERSEDEAS BOND

 

Before the Court is PlaintiffCarolyn Covington’s (“Covington” or “Plaintiff”) motion (dkt.
#149) for declaratory relief and to attach the supersedeas bond pending a new trial, as ordered by the
Sixth Circuit Court of Appeals. Also before the Court is Defendant MCI Telecomrnunications
(“MCI” or “Defendant”)’ s cross-motion (dkt. #151) to dismiss and to release the supersedeas bond.
For the reasons stated herein, Covington’s motion is GRANTED and MCI’s cross-motion is
DENIED.
I. BACKGROUND FACTS

On November 5, 1998, Plaintiff filed a complaint in this Court alleging that Defendant

discriminated against her on the basis of race, sex, and age. On May 19, 2000, a jury retume -

  
  

verdict in favor of Plaintiff. On September 12, 2000, the Court entered judgment for Plain ` "

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$939,417.00. When the Court denied Defendant’s post-trial motions, Defendant appealed, posting l
a supersedeas bond for $981,972.59. While the appeal was pending, MCI filed a voluntary petition
for bankruptcy in the United States Bankruptcy Court for the Southem District of New York
(“Bankruptcy Court”). The appeal was stayed but the parties filed a Stipulation to lift the stay,
allowing the matter to proceed through appeal, since the bond was available to satisfy the judgmentl

On March 26, 2004, the Sixth Circuit Court of Appeals reversed this Court’s Order denying
Defendant’s motion for a new trial as to liability and remanded for a new trial. On October 29, 2004,
Plaintiff filed the instant motion for declaratory relief and to attach the supersedeas bond. On
November 15, 2004, Defendant filed the cross-motion to dismiss and to release the supersedeas
bond.

II. ANALYSIS

Plaintiff asserts that the terms of the supersedeas bond require that the bond remain in effect
pending the new trial remanded by the Sixth Circuit. Specifically, Plaintiff avers that the bond must
remain in effect until the Defendant satisfies judgment in full. Because that has not happened,
Plaintiff contends that the terms of the bond require that it remain in effect until all appeals are
exhausted Defendant, on the other hand, argues that the bond expired when the Sixth Circuit
reversed judgment and remanded for a new trial.

The purpose of a supersedeas bond is to preserve the status quo while protecting the
non-appealing party’s rights pending appeal. Poplar Grove Planting and Refining Co., Inc. v. Bache
Halsey Stuart, 600 F.Zd 1189, 1190-91 (Sth Cir. 1979). Because no federal statutes or rules govern
the obligations under supersedeas bonds, courts must look to the terms of the bond at issue to

determine the extent and conditions of the bond. w Beatrice Foods Co. v. New England Printing

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and Lithograp_hing Co., 930 F.2d 1572, 1574 (Fed. Cir. 1991).

The bond states that if the Defendant “shall prosecute its appeal and shall satisfy the
judgment in full . . . if the appeal is finally dismissed and if the judgment is affirmed, . . . or as
modified . . . as the Court of Appeals may adjudge and award, this obligation shall be void; otherwise
it shall remain in full service and effect.” It is clear from the terms of the bond that if the Sixth
Circuit had affirmed or modified the judgment of this Court, Defendant would have been obligated
under the bond. Additionally, had the Sixth Circuit reversed the judgment of this Court, the
Defendant’s obligations under the bond would have been satisfied. Because the Sixth Circuit
reversed and remanded, however, the express language of the bond is not clear.

Plaintiff argues that the Stipulation that was filed in Bankruptcy Court in order to lift the
automatic stay demonstrates the intent of the parties. The Stipulation provides that “[i]n the event
of a remand, both parties reserve all appellate rights with respect to any subsequent judgment or
order of the District Court on remand, including, but not limit to, attorneys fees and/or costs.” This
clearly expresses the intent of the parties that the stay was to extend through a new trial upon
remand.

Defendant contends that the Sixth Circuit’s decision was a final judgment, thus leaving
nothing for the bond to secure. However, the stipulation specifically declares that the Sixth Circuit’S
decision would be a final adjudication “provided that the Sixth Circuit does not remand the case to
the District court for further proceedings.” As the Sixth Circuit did remand, the Stipulation makes
clear that the stay is to remain open. Had the Sixth Circuit wanted to finalize judgment, it would
have simply reversed the judgment of this Court. Instead, it remanded the case for further

proceedings Thus, the action is still pending before this Court and final judgment is yet to be

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reached Considering that the purpose of the bond is to ensure that judgment can be paid once it has
been reached, and especially considering Defendant’s precarious financial position, the Court holds
that the supersedeas bond must remain in effect until such final judgment has been determined
Defendant asserts, however, that this Court does not have jurisdiction over this matter
because bankruptcy law states that a confirmed plan binds both debtor and creditors _S_eg l 1 U.S.C.
§ 1141(a). However, Title 11 does not remove jurisdiction from the district courts. Moreover, in
the instant case, the Stipulation which was accepted by the Bankruptcy Court expressly lifted the
automatic stay and permitted the case to proceed in this Court. Accordingly, the Court finds that it
has jurisdiction over this matter.
III. CONCLUSION
Based on all the foregoing, Plaintiff’s motion for declaratory relief and to attach the
supersedeas bond is GRANTED and Defendant’s cross-motion to dismiss and to release the

supersedeas bond is DENIED.

IT IS SO ORDERED this ¢§'2 day of August, 2005.

 

NITED STATES DISTRICT COURT

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 156 in
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US DISTRICT COURT

